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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

PETER TRAUERNICHT,
et al.,

Plaintiffs,
Vv. Civil Action No. 3:22c¢cv532

GENWORTH FINANCIAL
INC., et al.,

Defendants.

MEMORANDUM OPINION

This matter is before the Court on DEFENDANT’S PARTIAL MOTION
TO DISMISS UNDER RULE 12(b) (1) (*%12(b) (1) Motion”) (ECF No. 106)
and DEFENDANT'S MOTION TO DISMISS UNDER RULE 12(b) (6) (“12 (b) (6)
Motion”) (ECF No. 104).

Having considered the 12(b)(1) Motion and the supporting,
opposing, and reply briefs (ECF Nos. 107, 117, and 121),
DEFENDANT’S PARTIAL MOTION TO DISMISS UNDER RULE 12(b) (1) (ECF No.
106) will be granted. Having considered the 12(b)(6) Motion, the
supporting, opposing, and reply briefs (ECF Nos. 130, 132, and
133),3 and the supplemental authority,? DEFENDANT’S MOTION TO

DISMISS UNDER RULE 12(b) (6) (ECF No. 104) will be denied.

1 Those are amended briefs. The original briefs (ECF Nos. 105, 118,
and 120) were replaced and were not considered.

2 The Defendant filed DEFENDANT’S MOTION FOR LEAVE TO SUBMIT
SUPPLEMENTAL AUTHORITY (ECF No. 134), and the Plaintiffs responded
(ECF No. 136). Both documents included legal arguments that were
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BACKGROUND

Class Representatives Peter Trauernicht and Zachary Wright
("Class Representatives”), on behalf of themselves and all other
similarly situated individuals (referred to collectively as
“Plaintiffs”), bring suit against Genworth Financial, Inc.
(“Genworth” or “Defendant”). The SECOND AMENDED CLASS ACTION
COMPLAINT (“Second Amended Complaint” or “SAC”) (ECF No. 103)
alleges that Genworth breached its fiduciary duty under the
Employee Retirement Income Security Act (“ERISA”) by selecting,
retaining, and ratifying the selection and retention of poorly-
performing investments for participants of the Genworth Financial
Inc. Retirement and Savings Plan (“Plan”), thereby causing the
Plaintiffs and the Class substantial monetary loss. SAC Jf 1, 6,
57.
I. Factual Background

The Plan is a “participant-directed defined contribution
plan” where participants have the opportunity to direct the
investment of their contributions into various investment options
offered by the Plan. SAC § 18. The Plan includes options to invest
in target date funds (“TDFs”), which are portfolios of underlying

funds that gradually shift to become more conservative as the

relevant for the 12(b) (6) Motion and are discussed below. Genworth
also filed additional supplemental authority that the Court
considered when deciding the 12(b) (6) Motion. ECF Nos. 125, 129,
and 137.
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assumed target date approaches. SAC { 23. Genworth allegedly
selected the BlackRock TDFs for the Plan due to their low fees and
ignored “their ability to generate return, either on an actual or
risk-adjusted basis.” SAC § 30. Additionally, the BlackRock TDFs
were designated as the Plan’s default, so approximately 51% of the
Plan’s assets were invested in those TDFs. SAC | 32-33.
Plaintiffs allege that Genworth failed to scrutinize the
performance of the BlackRock TDFs against any of the appropriate
performance measures or the alternative investments to determine
whether the expected performance of the BlackRock TDFs could
justify continued retention of the TDFs in the Plan even though
such measurement and comparative information was readily
available. SAC | 38, 48. And, according to the SAC, acting
contrary to the Plan’s Investment Policy Statement (“IPS”), the
Administrative Committee (referred to as “the Committee”)
responsible for managing the Plan allegedly failed to take action,
or even discuss the BlackRock TDF’s poor performance during
Committee meetings, after “at least three and a half years’ worth
of concerning and severely disappointing datapoints,” including at
least eight consecutive quarters of inadequate performance in
comparison to alternative TDFs. SAC qf 50-51, 54-55, 58. The SAC
goes on to allege that Genworth’s failure to evaluate and select

alternative TDFs breached the fiduciary duty it owed to Plan
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participants to act prudently and solely in the interest of the
participants. SAC 4{ 54, 64-67.

During the Class Period, the BlackRock TDFs significantly
underperformed which caused participants to miss out on over $100
million in retirement savings growth that would have been achieved
through investments in alternative TDFs. SAC { 56.

The proposed Class is:

All participants and beneficiaries in the Genworth

Financial Inc. Retirement and Savings Plan at any time

on or after July 29, 2016 and continuing to the date of

judgment, or such earlier date that the Court determines

is appropriate and just, including any beneficiary of a

deceased person who was a participant in the Plan at any

time during the Class Period.

SAC § 69. Plaintiffs bring two claims on behalf of that Class.

COUNT ONE is for Breach of Fiduciary Duty under §§
404(a) (1) (A), (B), and (D) of ERISA, codified at 29 U.S.C. §§
1104 (a) {1) (A), (B), and (D). SAC Qf 82-91. Genworth allegedly
“failed and continues to fail to discharge its duties with respect
to the Plan” to act solely in the interests of the Plan’s
participants and beneficiaries by failing to act for the exclusive
purpose of benefiting the participants, failing to act as “a
prudent man acting in a like capacity and familiar[ity]” would,
and failing to “adhere to its own fiduciary process, as set forth
in its governing documents.” SAC § 84-85. Additionally, to the

extent that Genworth did not directly breach its duties, COUNT ONE

alleges that it is liable under 29 U.S.C. § 1105(a) as a co-

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fiduciary which “knowingly failed to cure a breach of fiduciary
duty by the Committee and failed to take reasonable efforts to
remedy the breach.” SAC { 88. Plaintiffs request restoration of
the Plan’s losses and any other equitable or remedial relief,
including prospective injunctive and declaratory relief, pursuant
to ERISA §§ 409 and 502(a) (2), codified at 29 U.S.C. §§ 1109 and
1132. SAC § 91. COUNT TWO alleges that Genworth failed to monitor
the performance of the Committee and its members that were
overseeing and managing the Plan. Sac ¢f 92-101. That failure is
alleged to have resulted in a loss to Plan participants of more
than $100 million.
II. Procedural Background

Plaintiffs filed this class action on August 1, 2022. On
October 17, 2022, Genworth filed an Answer (ECF No. 19) and a
Motion to Dismiss under Rules 12(b)(1) and 12(b) (6) (ECF No. 17),
which the Court denied without prejudice for failure to properly
divide the issues. ECF No. 32. Accordingly, Genworth filed a Motion
to Dismiss under Rule 12(b) (6) (ECF No. 38) and Motion to Dismiss
under Rule (12(b){1) (ECF No. 40) on October 27, 2022. Plaintiffs
filed their responses on November 10, 2022, ECF Nos. 45 and 46,
and Genworth filed its replies on November 16, 2022. ECF Nos. 49
and 50.

On January 19, 2023, Plaintiffs made an oral motion to the

Court for leave to file an Amended Complaint, which the Court
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granted. ECF No. 70. The AMENDED CLASS ACTION COMPLAINT (“First
Amended Complaint” or “FAC”) (ECF No. 73) was filed on January 20,
2023, and Genworth filed a renewed Motion to Dismiss pursuant to
Rule 12(b) (6) (ECF No. 74) and Motion to Dismiss pursuant to Rule
12(b) (1) (ECF No. 80) on February 3, 2023. After the respective
responses (ECF Nos. 84 and 85) and replies (ECF Nos. 87 and 88)
were filed, the Court ordered supplemental briefing addressing the
decisions in the related cases in the Alexandria Division of U.S.
District Court for the Eastern District of Virginia.? ECF No. 89.
Those supplemental briefs were filed on March 8 and 9, 2023,
respectively. ECF Nos. 92 and 94.

The Court heard argument on the issues on March 15, 2023. ECF
No. 100. The argument revealed that the claims asserted in the FAC
could, and should, be structured in a manner that more accurately
reflected the true nature of the claims, so the Court ordered that
a Second Amended Complaint be filed and denied the two pending
motions to dismiss as moot. ECF No. 102 at 101-02, 105.

The SAC was filed on April 17, 2023, and the 12(b) (6) Motion
and the 12(b) (1) Motion were filed on May 15, 2023. ECF Nos. 103,
104, and 106. The Motions became ripe for review on June 12, 2023.
However, on July 19, 2023, the Court ordered that replacement

briefs be filed that did not incorporate previously filed documents

3 Those cases are Tullgren v. Booz Allen Hamilton (No. 1:22-cv-
856), and Hall v. Capital One Financial Corp. (1:22-cv-857).

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or parts thereof. ECF No. 128. These briefs were filed on July 26,
August 1, and August 7,
2023, respectively. ECF Nos. 130-33. Discovery on the merits of
the claims was stayed pending resolution of the Motions at issue.
ECF No. 72.
DISCUSSION

I. 12(b) (1) Motion

Genworth argues that Plaintiffs’ claims for prospective
relief should be dismissed with prejudice under Fed. R. Civ. P.
12(b) (1) because the Court lacks subject matter jurisdiction over
these claims for the reason that the Plaintiffs lack standing to
seek prospective injunctive relief, ECF No. 81 at 4, because they
are former participants in the Plan as alleged in the Second
Amended Complaint {4 9-10. ECF No. 107 at 4. In their “Prayer for
Relief,” Plaintiffs seek “declaratory and injunctive relief
pursuant to Section 502 of ERISA, 29 U.S.C. § 1132.” SAC at 57.

Although Genworth seeks dismissal under Rule 12(b)(1) “[iJf
Plaintiffs’ Second Amended Complaint is not dismissed in its
entirety” pursuant to Rule 12(b) (6), ECF No. 107 at 4, the Court
will first resolve the issue of subject matter jurisdiction before
deciding whether the Plaintiffs have stated legally sufficient
Claims because the Court must have subject matter jurisdiction

over a claim before assessing the merits of the claim. See Peters

v. Aetna Inc., 2 F.4th 199, 217 (4th Cir. 2021) (“Only if

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[Plaintiff] has standing do we address her claims on the merits.”).
Accordingly, the 12(b) (1) Motion will be addressed first.

a. Legal Standard

For a motion asserting lack of subject matter jurisdiction
under Fed. R. Civ. P. 12(b) (1), a court will grant the motion “only
if the material jurisdictional facts are not in dispute and the
moving party is entitled to prevail as a matter of law.” Richmond,

Fredericksburg & Potomac R.R. Co. v. United States, 945 F.2d 765,

768 (4th Cir. 1991). When a defendant is making a facial challenge
to subject matter jurisdiction, which is the case here, “the facts
alleged in the complaint are taken as true, and the motion must be
denied if the complaint alleges sufficient facts to invoke subject

Matter jurisdiction.” Kerns v. United States, 585 F.3d 187, 192

(4th Cir. 2009). “[T]he party asserting jurisdiction has the burden

of proving subject matter jurisdiction.” Balzer & Assoc. Inc. Vv.

Union Bank & Trust, 3:09cv273, 2009 WL 1675707, at *2 (E.D. Va.

June 15, 2009).

Article III of the U.S. Constitution limits the judicial power
to “Cases” and “Controversies” in which a court can “redress or
prevent actual or imminently threatened injury to persons caused

by private or official violation of law.” Summers v. Earth Island

Inst., SSS U.S. 488, 492 (2009). Thus, standing is a “necessary
component of subject matter jurisdiction” because a court must be

able to redress or prevent an injury when it resolves a case or
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controversy. Fed. Trade Comm’n v. Ross, 74 F.4th 186, 191 (4th

Cir. 2023).

There are three elements to satisfy the constitutional
requirements for standing: (1) an injury in fact (2) that is fairly
“traceable to the challenged action of the defendant” and (3) will

likely “be redressed by a favorable decision.” Lujan v. Defenders

of Wildlife, 504 U.S. 555, 560 (1992) (quotations omitted). “To

seek injunctive relief, a plaintiff must show that he is under
threat of suffering [an] ‘injury in fact’ that is concrete and
particularized; the threat must be actual and imminent, not
conjectural or hypothetical; it must be fairly traceable to the
challenged action of the defendant; and it must be likely that a
favorable judicial decision will prevent or redress the injury.”

Summers v. Earth Island Inst., 555 U.S. 488, 493 (2009) (citing

Friends of Earth, Inc. v. Laidlaw Environ. Servs. (TOC), Inc., 528

U.S. 167, 180-81 (2000)). “{A] plaintiff seeking prospective
injunctive relief may not rely on prior harm to establish Article

III standing.” Abbott v. Pastides, 900 F.3d 160, 176 (4th Cir.

2018) (quotations omitted). Rather, a plaintiff seeking
prospective relief “must establish an ongoing or future injury in

fact.” Kenny v. Wilson,

885 F.3d 280, 287 (4th Cir. 2018). To meet the redressability facet
of the standing test, a plaintiff need “only show that he

personally would benefit in a tangible way from the court’s

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intervention.” Disability Rights S.C. v. McMaster, 24 F.4th 893,

903 (4th Cir. 2022) (quotations omitted).
In ERISA cases, even when a plaintiff sues on behalf of an
ERISA plan, each named plaintiff must establish individual

standing. Loren v. Blue Cross & Blue Shield of Mich., 505 F.3d

598, 608 (6th Cir. 2007). As for the “injury in fact” under ERISA,
“Plaintiffs need not demonstrate individualized injury to proceed
with their claims for injunctive relief under § 502(a) (3); they
May allege only violation of the fiduciary duty owed to them as a
participant in and beneficiary of their respective ERISA plans.”

Peters v. Aetna Inc., 2 F.4th 199, 220-21 (4th Cir. 2021)

(quotations omitted).

b. Parties’ Arguments

Genworth’s 12(b) (1) Motion assumes that the Plaintiffs can
meet the first two requirements for standing but argues that the
Plaintiffs cannot show that their injuries are redressable by
“prospective injunctive and declaratory relief.” ECF No. 107 at 6-
7 (quoting SAC 4§ 8, 91). That is so because Plaintiffs are former
participants in the Plan, and thus would not benefit from any
prospective relief. ECF No. 107 at 6-7. Further, Genworth contends
that the Plaintiffs cannot rely on the Fourth Circuit's decision

in Peters v. Aetna Inc., 2 F.4th 199 (4th Cir. 2021), to support

their argument because the Fourth Circuit “expressed doubt that

plaintiff, who was a former plan participant, could establish

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constitutional standing” and remanded the case. ECF No. 107 at 7-
8.

In response, Plaintiffs argue that they are bringing this
suit “in a representative capacity on behalf of the plan as a
whole” and that other courts have found that former participants
had standing to seek injunctive relief for the class.4 ECF No. 117
at 10-11 (quotations omitted). Plaintiffs contend that, although
the Fourth Circuit has not decided this exact question, the Court
of Appeals has suggested that it is influenced by the reasoning of
other courts that have determined that former participants in a
plan do have standing to seek prospective relief under ERISA. Id.
at 11-12.

c. Analysis

The ERISA claims here are indeed brought in a representative
manner, but the Plaintiffs nonetheless must have Article III
standing to proceed on behalf of the Plan participants. Peters v.
Aetna Inc., 2 F.4th 199, 221 (4th Cir. 2021). It is clear from the
SAC that Plaintiffs have suffered an injury-in-fact that is
casually related to Genworth’s conduct as the fiduciary of the
Plan because a violation of the fiduciary duty can serve as the

injury which can justify injunctive relief. Id. at 220-21. The

4 In its reply (ECF No. 121), Genworth argues that the cases
referred to by Plaintiffs do not support the contention that
Plaintiffs have standing. ECF No. 121 at 8-10.

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standing issue then comes down to whether Plaintiffs will benefit
from the Court’s decision to provide prospective relief if awarded,

j.e., an issue of redressability.

The Plaintiffs discuss and cite multiple cases to support
their argument that they both have standing sufficient to support

the request for prospective injunctive relief. In Hay v. Gucci

America, Inc., the court denied the defendants’ motion to dismiss

in part because, even though the plaintiff was a former participant
in the plan at issue, the plaintiff was still a “participant” in
the plan as defined by 29 U.S.C. § 1002(7) and thus had standing
to bring an ERISA claim for prospective relief. No. 2:17-cv-07148,
2018 WL 4815558, at *4-5 (D.N.J. Oct. 3, 2018). Relying on a
decision from the Ninth Circuit, the court in Hay further reasoned
that 29 U.S.C. § 1132(a)(2) allows participants to sue for
“appropriate relief” to include equitable remedies, so plaintiff
had “‘statutory standing to assert fiduciary duty claims (for
prospective relief] under Section 502(a)(2).’” Id. at *5 (quoting

Harris v. Amgen, Inc., 573 F.3d 728, 734-35 &n.4 (9th Cir. 2009)).

Based on Harris, the court came to the same conclusion in

Cryer v. Franklin Templeton Resources, Inc. No. C 16-4265 CW, 2017

WL 4023149, at *4 (N.D. Cal. July 26, 2017). In Harris, the Ninth
Circuit held that a plaintiff who had previously withdrawn from
the plan had standing under Article III to sue pursuant to § 1132

“to recover losses occasioned by a breach of fiduciary.” 573 F.3d

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at 736. The Ninth Circuit explained that the plaintiff, who had
cashed out of the plan but was suing on behalf of the plan, could
meet the redressability requirement because the recovery that goes
to the plan could still benefit the individual. Id. at 735-36.

In Braden v. Wal-Mart Stores, Inc., the Eighth Circuit found

that a plan participant had standing to bring ERISA claims even
though the Plaintiff had not been a plan participant for the
entirety of the class period. 588 F.3d 585, 593-94 (8th Cir. 2009).
That was so because the plaintiff had a personal stake in the
litigation and his recovery was dependent on the plan. Id. The
Eighth Circuit further explained that there were two distinct
questions at issue: first, whether there was constitutional
standing which affected the plaintiff's ability to “pursue claims
on behalf of the Plan at all;" and second, what relief can he
awarded, which hinged on the statute rather than Article III. Id.

at 592. Separately, relying on Amara v. CIGNA Corp., 775 F.3d 510

(2a Cir. 2014), the U.S. District Court for the Southern District
of New York found that a class comprised of only former plan

participants had standing to pursue injunctive relief. Laurent v.

PricewaterhouseCoopers LLP, 565 F. Supp. 3d 543, 549-50 (S.D.N.Y.

2021). In Amara, the Second Circuit, although not directly
commenting on standing, found that injunctive relief was
appropriate even if some class members were former participants in

the plan. 775 F.3d at 520, 524 &n.9.

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Lastly, the Plaintiffs rely on Peters v. Aetna Inc., 2 F.4th

199, 221 (4th Cir. 2021), arguing that the Fourth Circuit
“indicated that the reasoning [described above] . . . would compel
a similar result in this Circuit.” ECF No. 117 at 11. In Peters,
the Fourth Circuit, in considering the injury-in-fact requirement
for standing, held that the violation of the fiduciary duty owed
to plan participants was a sufficient injury to have Article III
standing for “declaratory, injunctive, and other equitable relief
under ERISA.” 2 F.4th at 220-21. However, in a footnote, the Peters
court raised the question whether the plaintiff could seek
prospective injunctive relief as a former participant in the plan
but left the question to the district court as neither party raised
the issue on appeal. Id. at 221 n.11.

In response, Genworth points the Court to Beldock v. Microsoft

Corp. where the court found that the former plan participant
plaintiffs did not have standing to sue for injunctive relief
because none of the plaintiffs were “likely to become reemployed
by Microsoft and to participate again in the Plan.” No. C22-
1082JLR, 2023 WL 1798171, at *5 (W.D. Wash. Feb. 7, 2023). The
court in Bedlock rejected the reasoning from the cases on which
Plaintiffs rely (with the exception of Peters), explaining that
the cases concerned statutory, rather than constitutional,
standing or did not discuss the issue of standing at all. Id.

Additionally, the court in Bedlock was influenced by the holding

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in Thole v. U.S. Bank N.A., 140 S. Ct. 1615, 1622 (2020). Bedlock,

No. C22-1082JLR, at *5. Similarly, in Garthwait v. Eversource

Energy Co., the court determined that the plaintiffs lacked

standing to seek prospective injunctive relief when none of the
participants were still enrolled in the plan. No. 3:20-cv-902,
2022 WL 1657469, at *5-*6 (D. Conn. May 25, 2022). Citing the
Supreme Court’s holding in Thole, the Garthwait court was similarly
unconvinced by the cases cited by Plaintiffs in the briefing. Id.

In Peters, the Fourth Circuit did not decide whether former
plan participants lacked standing to seek prospective relief, but,
on remand, the district court found that the plaintiff lacked
standing to seek prospective injunctive relief because the risk of
future harm was “far too speculative and nebulous.” Case No. 1:15-
cv-109, 2023 WL 3829407, at *7 (W.D.N.C. June S, 2023). Thereupon,
the district court dismissed the claim for prospective relief. Id.

The Supreme Court’s decision in Thole v. U.S. Bank N.A.

reinforced the idea that plaintiffs asserting an ERISA claim must
meet all of the requirements for constitutional standing,
including that their claims are redressable. 140 S. Ct. 1615, 1622
(2020). In neither the SAC nor the briefs have the Plaintiffs shown
how they would benefit from any prospective relief because they no
longer invest in the BlackRock TDFs, so any changes to the process
in the future would not affect them, making their claim for

prospective injunctive relief non-redressable.

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For the foregoing reasons, DEFENDANT’S PARTIAL MOTION TO
DISMISS UNDER RULE 12(b) (1) (ECF No. 106) will be granted and the
claim for prospective injunctive relief will be dismissed with
prejudice.

II. 12(b) (6) Motion

Genworth moves to dismiss COUNTS ONE and TWO of the Second
Amended Complaint for failure to state claims upon which relief
can be granted. For the reasons stated below, DEFENDANT’S MOTION
TO DISMISS UNDER RULE 12(b) (6) (ECF No. 104) will be denied.

a. Legal Standard

“To survive a motion to dismiss [under Rule 12(b)(6)], a
complaint must contain sufficient factual matter, accepted as
true, to ‘state a claim to relief that is plausible on its face.’”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic

Corp. v. Twombly, 550 U.S. 544, 570 (2007)). The plaintiff need

not provide “detailed factual allegations,” Twombly, 550 U.S. at
555, but must provide enough factual context so the court can draw
reasonable inferences that there is “more than a sheer possibility
that the defendant acted unlawfully.” Iqbal, 556 U.S. at 678. Legal
conclusions, a bare recitation of the elements of a claim, and
“naked assertions devoid of further factual enhancement” are
insufficient. Id. (quoting Twombly, 550 U.S. at 555, 557). Factual
allegations—but not legal conclusions—are accepted as true for the

purpose of evaluating the Motion. Twombly, 550 U.S. at 555. For

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ERISA claims specifically, “[bJecause the content of the duty of
prudence turns on the circumstances prevailing at the time the
fiduciary acts, the appropriate inquiry will necessarily be
context specific,” but, even then the pleading standards of Twombly

and Igbal apply to ERISA claims. Fifth Third Bancorp v.

Dudenhoeffer, 573 U.S. 409, 425-26 (2014) (cleaned up).

When evaluating a Rule 12(b) (6) motion, the court may only
rely on “the complaint in its entirety” and “documents attached or

incorporated into the complaint.” E.I. du Pont de Nemours & Co. Vv.

Kolon Indus., Inc., 637 F.3d 435, 448 (4th Cir. 2011). A document

is incorporated into the complaint when “it is integral to the
complaint and there is no dispute about the document’s

authenticity.” Goines v. Valley Cmty. Servs. Bd., 822 F.3d 159,

166 (4th Cir. 2016). A court may also take judicial notice of
matters of public record and “adjudicative facts” pursuant to
Federal Rule of Evidence 201(b) when considering a Rule 12(b) (6)

motion. Goldfarb v. Mayor & City Council of Balt., 791 F.3d 500,

508 (4th Cir. 2015). The Fourth Circuit held that “SEC filings,
press releases, stock price tables, and other material on which
the plaintiff's allegations necessarily rely” can be considered

when ruling on a Rule 12(b)(6) motion. Greenhouse v. MCG Cap.

Corp., 392 F.3d 650, 657 (4th Cir. 2004). However, judicial notice
should not “be used as an expedient for courts to consider matters

beyond the pleadings and thereby upset the procedural rights of

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litigants to present evidence on disputed matters.” Waugh Chapel

S., LLC v. United Food & Com. Workers Union Loc., 728 F.3d 354,

360 (4th Cir. 2013) (quotations omitted). If the court does take
judicial notice of a document, the facts within that document must
be construed in the light most favorable to the plaintiff. Zak v.

Chelsea Therapeutics Int’‘l, Ltd., 780 F.3d 597, 607 (4th Cir.

2015). If a court chooses to go beyond these documents, the Rule
12(b) (6) motion converts into one for summary judgement, which is
governed by Rule 56. Fed. R. Civ. P. 12(d).

b. Parties’ Arguments

1. Genworth’s Arguments

Genworth begins by arguing that, in COUNT ONE, Plaintiffs
have failed to state a claim for breach of its fiduciary duty of
prudence for two primary reasons. First, Genworth asserts that
Plaintiffs have not plausibly alleged that Genworth failed to
monitor the Plan’s investments because the SAC and certain
documents mentioned in it show that Genworth did indeed monitor
the investments. ECF No. 130 at 18-19. In particular, Genworth
claims that it monitored the investments because: (1) it sought
and received outside financial and legal expertise to inform the
monitoring process; (2) the Committee regularly met and even
exceeded the IPS requirement of meeting annually; and (3) it

received regular updates on the investments’ performance as

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evidenced by the presentations made to the Committee. Id. at 19-
23.

As for the assertion that the Committee did not review or
discuss the BlackRock TDFs because it is not reflected in the
meeting minutes, Genworth contends that it was not required (nor
was it plausible) to review those investments during every single
meeting and that the minutes do not necessarily detail every
discussion that occurred during each meeting. Id. at 21-23.
Further, Genworth asserts that the minutes reveal the discussion
of other non-BlackRock investments that it placed on a watch list
or removed, which shows it was engaged in a monitoring process.
Id. at 23-25. Lastly, on this point, Genworth argues that any
suggestion that it did not monitor the BlackRock TDFs because it
did not consider the performance of the Comparator TDFs identified
in the SAC is unmeritorious because the Comparator TDFs are not
meaningful benchmarks. Id. at 25-26.

Second, Genworth argues that, even if the Court were to
conclude that the SAC plausibly alleges a failure to monitor, the
Plaintiffs’ claim for breach of duty fails nonetheless because
they have not pled that the failure to monitor caused the losses.
ECF No. 130 at 26. This is so, Genworth contends, because the
Plaintiffs “offer no well-pled allegations that a prudent
fiduciary, in Genworth’s position, would have removed the

BlackRock TDFs from the Plan” and offer no examples of a similarly

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situated fiduciary who did so. Id. at 27-28. Further, Genworth
asserts that the IPS does not require it to drop poorly performing
investments. Id. at 28. Rather, “the decision to remove or replace
[the investments] is left to the discretion and expertise of the
Committee.” Id.

Additionally, Genworth argues that the Plaintiffs have failed
to allege “significant underperformance” or how they calculated
their losses, so there is no method for the Court to find loss
causation. Id. at 29-30. And, lastly, Genworth argues that the
Plaintiffs have made no allegations that there were external
warning signs to alert a prudent fiduciary that the BlackRock TDFs
should be removed from the Plan or that a prudent fiduciary would
just remove investments from the Plan because they were performing
poorly in a limited period of time, meaning that they have failed
to show Genworth’s actions caused the loss. Id. at 30-33.

As for COUNT TWO, Genworth argues that the claim should be
dismissed for two reasons. ECF No. 130 at 33-34. First, Genworth
maintains that this claim is derivative of COUNT ONE, so this claim
must fail because COUNT ONE fails for the reasons stated above.
Id. at 34. Second, Genworth contends that the Plaintiffs have
failed to plead any facts that show: (1) how Genworth monitored
the Committee; and (2) how that process was deficient. Id. Thus,
there can be no claim against Genworth for failure to monitor the

Committee. Id.

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2. Plaintiffs’ Response

In response, Plaintiffs generally contend that Genworth’'s
arguments are factual disputes that are not appropriate for
resolution at this stage of the proceedings. ECF No. 132 at 21.
That is, indeed, the Plaintiffs’ response to Genworth’s assertions
that there was a monitoring process; that it is permissible to
infer that the process was effective; that Genworth consulted
financial and legal advisors; and that the asserted lack of meeting
notes discussing the BlackRock TDFs is not important. Id. at 22-
25.

As for the Comparator TDFs, Plaintiffs argue that they are
consistent with the Plan's own IPS and that no two TDFs are exactly
the same, so there will inevitably be some differences and that
that is a necessary reality when attempting to compare funds. Id.
at 26-28. Further on this point, Plaintiffs explain that they chose
the Comparator TDFs because they represent “the most likely funds
that a prudent fiduciary would have considered in weighing the
performance of the BlackRock TDFs,” so it is a sound basis for
comparison. Id. at 28.

In response to the loss-causation argument, Plaintiffs
contend that it is reasonable to infer from the SAC that the lack
of sufficient monitoring caused the Plaintiffs’ loss and, quoting
the Seventh Circuit, “[wJhere alternative inferences are in

equipoise . . . the plaintiff is to prevail on a motion to dismiss.”

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ECF No. 132 at 29-30 (quoting Hughes v. Nw. Univ., 63 F.4th 615,

629 (7th Cir. 2023)). Plaintiffs also argue that they have
sufficiently pled “significant loss” to support their claim
because the SAC “set[s] forth the facts and circumstances

which would have alerted a prudent fiduciary to act upon the
serious performance issues with the BlackRock TDFs.” Id. at 31-
32. Plaintiffs explain that their asserted loss “represents missed
capital appreciation as a result of Defendant’s failure to
prudently replace the BlackRock TDFs during the class period” and
that the SAC contains extensive detail explaining the mathematical
calculation behind the asserted losses. Id. at 33.

Lastly, as for whether they were required to show that other
prudent fiduciaries dropped the BlackRock TDFs, Plaintiffs turn to
the IPS and claim that it did not require the Committee to take
note of what other retirement plans were doing and that, at this
point in the proceedings, it need only plausibly allege a breach
of duty of prudence. Id. at 34-36. Additionally, Plaintiffs
discount the Morningstar ratings that Genworth relies on, arguing
that it is not representative of the market’s views of the funds.
Id. at 34.

As for COUNT TWO, Plaintiffs first argue that the claim is
not derivative of COUNT ONE based on the analysis in Gordon v.

CIGNA Corp., 890 F.3d 463 (4th 2018). ECF No. 132 at 37. Second,

Plaintiffs contend that the SAC “sets forth the roles and

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relationships of the parties acting on behalf of Genworth, the
duties of each party, and underlying breaching conduct,” which
allows the Court to infer that Genworth knew or should have known
about the malfeasance. Id.

c. Analysis

Before assessing the merits of Genworth’s 12(b) (6) Motion, it
is necessary to determine whether the Court can consider certain
documents that Genworth relies on to support that Motion.

1. Documents Attached to Genworth’s 12(b) (6) Motion

Genworth attached four additional documents’ to its 12(b) (6)
Motion which it says the Court may consider because they are either
publicly available information or integral to the SAC. ECF No. 130
at 11 n.1, 12 n.2, 13 n.3, and 14 n.4. Plaintiffs have not
challenged the inclusion of these documents, but the Court must
nonetheless decide whether they can be considered without
converting the Motion to one for summary judgment.

Exhibit A (ECF No. 130-1) (SEALED) is the Plan’s IPS that
governs how investments will be selected and assists the Plan’s
Committee in making decisions. ECF No. 130-1 at 3. The SAC

specifically identifies the IPS and discusses its selection and

5 Genworth also attached a Declaration from Victor Skakandy, a
Senior Retirement Plans Manager at Genworth, that authenticates
Exhibits A-C. ECF No. 131-1. Because Genworth does not rely on
this document in its arguments, it has not been considered and is
not discussed in this Memorandum Opinion.

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monitoring criteria. SAC 4§ 36-37, 40, 46 n.11. Accordingly,
Exhibit A appears integral to the SAC and can be properly
considered with the 12(b) (6) Motion with all inferences going in
favor of the Plaintiffs.

Exhibit B (ECF No. 130-2) (SEALED) is the minutes from the
Committee meeting on September 13, 2017 regarding the Plan. The
minutes provide a detailed summary of the individuals present,
what topics were discussed, and the “takeaways” from various
topics. The SAC alleges that the September 2017 minutes do not
mention “the performance of the BlackRock TDFs.” SAC { 53.
Notwithstanding that the SAC specifically mentions other minutes,
Genworth provides only the minutes from the September 13, 2017
meeting. Because the SAC mentions meetings in consecutive
quarters, but Genworth only provided selected minutes that it
thinks support its 12(b) (6) Motion but does not provide the others
referred to in the SAC, the September 13, 2017 minutes will not be
considered because they are not integral to the SAC.

Exhibit C (ECF No. 130-3) (SEALED) is an investment review
presentation from the second quarter of 2017 produced by Alight
Solutions (referred to as “the Review”). The Review is mentioned
in the minutes from the September 13, 2017 Committee Meeting (ECF
No. 130-2 at 2), but it is not mentioned in the SAC. Genworth
argues that it can be considered at this stage of the case because

“the Review is incorporated into the minutes [that] Plaintiffs

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rely on.” ECF No. 130 at 13 n.3. That connection is too attenuated
to consider the document integral to the SAC, so it will not be
considered when deciding the 12(b) (6) Motion.

Exhibit D (ECF No. 131-5) is the Morningstar 2022 Target-Date
Strategy Landscape Report (referred to as “the 2022 Morningstar
Report”) concerning the performance of the BlackRock TDFs as well
as other TDFs. The SAC does explicitly cite the 2022 Morningstar
Report. SAC § 25 &n.4. Likewise, the SAC refers to Morningstar to
explain the S&P Target Date Indices and to identify the BlackRock
TDFs’ “peer group.” SAC 7 35, 52. While the Memorandum in Support
of the 12(b) (6) Motion to Dismiss uses the 2022 Morningstar report
to support the same types of propositions, ECF No. 130 at 14 &
n.4, it also uses the Report for other factual assertions, such as
how much revenue the BlackRock TDFs gained in a year and the rating
of the BlackRock TDFs. Id. at 14-15, 30-31. Because Genworth is
using the Report beyond its limited use in the SAC, the Report is
not integral to the SAC and will not be considered when deciding

the 12(b) (6) Motion.

2. The Legal Sufficiency of Breach of Duty of Prudence
(COUNT ONE)

Under ERISA, a fiduciary is required “to act ‘with the care,

skill, prudence, and diligence under the circumstances then

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prevailing that a prudent man acting in a like capacity and
familiar with such matters would use in the conduct of an

enterprise of a like character and with like aims.’” Tatum v. RJR

Pension Inv. Comm., 761 F.3d 346, 356 (4th Cir. 2014) (quoting 29

U.S.C. § 1104(a) (1) (B)). The fiduciary must also act “in accordance
with the documents and instruments governing the plan insofar as
such documents and instruments are consistent with” the statute.
§ 1104(a)(1)(D). Whether this duty was breached comes down to
“whether the individual trustees, at the time they engaged in the
challenged transactions, employed the appropriate methods to
investigate the merits of the investment and to structure the
investment.” Tatum, 761 F.3d at 356 (quotations omitted); see also

DiFelice v. U.S. Airways, Inc., 497 F.3d 410, 420 (4th Cir. 2007)

(describing the inquiry as “whether the fiduciary engaged in a
reasoned decision[-]making process, consistent with that of a
prudent man acting in [a] like capacity” (quotations omitted)).
Once a loss is established, the next inquiry is “whether the
fiduciary’s imprudent conduct caused the loss,” or in other words,
whether “a hypothetical prudent fiduciary would have made the same
decision anyway.” Tatum, 761 F.3d at 357 (quotations omitted).
Genworth makes two broad arguments for why COUNT ONE should
be dismissed: (1) there was a sufficient monitoring process in
place and (2) the SAC fails to adequately plead loss causation.

Each is addressed in turn:

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A. Failure to Monitor

As for the first argument, the SAC alleges that the Committee
failed to monitor the BlackRock TDFs and, more generally, the Plan
in the following ways: (1) the Committee failed to scrutinize the
BlackRock TDFs’ performance against appropriate alternatives (SAC
q{] 38, 58); (2) the Committee never discussed the BlackRock TDFs’
performance during its meetings (SAC {{ 49, 62); and (3) the
Committee did not meet at the end of each quarter to discuss the
Plan's performance (SAC { 52). The SAC also alleges that this
failure to monitor was in direct contravention of the IPS. See,
e.g., SAC Q§ 50, 54.

Genworth’s view that the SAC is insufficient is based entirely
on arguments and documents that, according to Genworth, show that
it did, in fact, adequately monitor the BlackRock TDFs in the
following ways: (1) it sought outside financial and legal expertise
(ECF No. 130 at 19-20); (2) the Committee met regularly on
intervals consistent with the IPS (id. at 20-21); (3) the Committee
monitored and received regular updates on the investments (id. at
21-25); and (4) the Comparator TDFs are not “meaningful
benchmarks,” so the Committee did not need to engage in performance
comparisons as a part of its monitoring process (id. at 25-26).
The Plaintiffs contend that each of these arguments are factual
disputes that cannot be resolved at the motion to dismiss phase.

ECF No. 132 at 21-25. And, on that argument, the Plaintiffs are

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right. Each of those points can be considered as the case
progresses, but they do not bear on the legal sufficiency of the
SAC. Nonetheless, we will examine each in turn.

First, as Genworth recognizes in its brief, seeking outside
advisors is “not dispositive” of an adequate monitoring process,
but it is evidence bearing on the adequacy of the process. And,
although that evidence may weigh in Genworth’s favor, it alone
does not establish that there was not a deficiency in the
monitoring process.

Additionally, Genworth supports its claim that it received
outside advice from the September 13 meeting minutes but, as found
above, that document is not properly considered at this stage of
the proceedings. Rather, the SAC only mentions in passing that the
Committee received advice from Alight, and there is no mention of
legal advice, so those facts are not appropriately considered at
this stage. SAC §| 48 n.14. Accordingly, this argument does not
permit a finding that COUNT ONE is legally insufficient.

Second, Genworth contends that, in fact, the Committee did
meet regularly. ECF No. 130 at 20-21. However, the SAC alleges
that the Committee failed to meet after each quarter, which
prevented it from adequately monitoring the BlackRock TDFs. SAC {{
49-53. The IPS only provides that the Committee meet “not less
than annually,” but it also requires that the Committee “review,

on a timely basis, . . . each fund’s investment results.” ECF No.

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130-1 at 4 (SEALED). Taking all of this information together, it
is still reasonable to infer that, even if the Committee was
meeting as provided by the IPS, that was not sufficient to
adequately monitor the BlackRock TDFs’ performance. Accordingly,
this argument does not permit granting Genworth’s motion to dismiss
COUNT ONE.

Third, Genworth asks the Court to infer from the September
13, 2017 meeting minutes and the Investment Review that the
Committee, in fact, did regularly monitor and review the
performance of the BlackRock TDFs. ECF No. 130 at 21-23. First, as
stated above, those documents are not integral to the SAC and are
not to be considered at this stage of the litigation. However,
even if the documents were to be considered, Genworth is asking
the Court to draw an inference in its favor, which is inappropriate

on a motion to dismiss. Edwards v. CSX Trans., Inc., 983 F.3d 112,

117 (4th Cir. 2020) (*“[(D]rawing all reasonable inferences in
Plaintiffs’ favor” on a motion to dismiss under Fed. R. Civ. P.
12(b)(6)). Rather, it is reasonable to infer that, because the
minutes do not reflect that the Committee reviewed the performance
of the BlackRock TDFs, the Committee failed to do so, which is a
plausible allegation that Genworth breached its duty to monitor.
Moreover, all three of the foregoing arguments are assertions
of fact that are intended to show that contrary allegations in the

SAC are wrong. That, of course, is not a permissible method for

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deciding a motion under Rule 12(b) (6), so all of those arguments
fail for the single reason that they have no place in the exercise
in which the parties and the Court now are engaged.

Fourth, Genworth adopts the reasoning from Tullgren v. Booz

Allen Hamilton, No. 1:22-cv-856, 2023 WL 2307615 (E.D. Va. Mar. 1,

2023), and Hall v. Capital One Financial Corp., No. 1:22-cv-857,

2023 WL 2333304 (E.D. Va. Mar. 1, 2023) (two cases decided in the
Alexandria division of this Court), to argue that the Plaintiffs
have not plausibly alleged that the Comparator TDFs are meaningful
benchmarks with the attendant consequence that Plaintiffs cannot
argue that the monitoring process was deficient based on the
Committee's failure to measure the performance of the BlackRock
TDFs against the Comparator TDFs. ECF No. 130 at 25-26. A more
direct comparison of the SAC in this case and the allegations in

Tullgren/Hall is presented in more detail below, but it is beyond

serious doubt that the SAC in this case sufficiently alleges why
the Comparator TDFs were selected and why BlackRock TDFs’
performance can be judged against these other TDFs. SAC {f 40-42.
Thus, because the SAC does plausibly allege that the Comparator
TDFs are meaningful benchmarks, the Plaintiffs’ argument that
there was a deficient monitoring process because the Committee
failed to draw these comparisons is a plausible one in this case.

Accordingly, because the SAC contains specific factual

allegations that plausibly describe why the Committee failed to

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adequately monitor the BlackRock TDFs and does not rely solely on
underperformance to assert this claim, Genworth’s argument on the
point based on Tullgren and Hall fails.
B. Loss Causation
To recover for a claim for breach of fiduciary duty under
ERISA, the plaintiff must allege a loss “to the plan resulting

from each such breach.” Tatum v. RJR Pension Inv. Comm., 761 F.3d

346, 361 (4th Cir. 2014) (quoting 29 U.S.C. § 1109(a)) (emphasis
in original). A loss results from a fiduciary breach when “but for
the breach, the Plan’s assets would have been greater.” DiFelice

v. U.S. Airways, Inc., 235 F.R.D. 70, 83 (E.D. Va. 2006). As

applied to ERISA, once a beneficiary proves breach of trust and a
related loss, the burden of proof shifts to the fiduciary on loss
causation. Tatum, 761 F.3d at 362-63.

As to loss causation, the SAC alleges that “a fiduciary
following a prudent process” and who would have reviewed the
performance data presented in the SAC would have “investigate [d]
alternatives and ultimately replace[d] the BlackRock TDFs.” SAC q
48. The SAC further alleges that, as was dictated by the IPS, the
continued underperformance of the BlackRock TDFs would have
alerted a prudent fiduciary to review the retention of the funds.
SAC 49 52, 54. However, because the Committee breached its

monitoring duties and had a faulty process, it failed to review

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the performance of the BlackRock TDFs and replace them, which
caused over $100 million in losses. SAC qf 57-58, 63.

Genworth presents four arguments for why these allegations do
not plausibly allege the loss causation element. First, Genworth
argues that the IPS does not require the Committee to drop the
BlackRock TDFs when underperformance is observed. ECF No. 130 at
28. It is true that the IPS dictates that certain events “that the
Committee will examine closely when reviewing its investment
managers . . . could lead to the removal or replacement of an
existing fund.” ECF No. 130-1 at 7 (emphasis added). This does not
defeat Plaintiffs’ claim, however, because the SAC alleges that
the Committee’s failure to monitor and compare the investments
caused the loss since a prudent fiduciary following the process
proscribed by the IPS would have decided to drop the funds because
they were performing poorly, not because the IPS required it to.
Accordingly, this argument does not defeat the SAC’s allegations
of loss causation.

Second, Genworth contends that the SAC does not adequately
allege “significant underperformance.” ECF No. 130 at 29-30. While
“significant” can often be used as a legal term, the SAC uses
“significant” as a factual modifier, alleging that “[t]he
BlackRock TDFs are significantly worse performing . . . than most
of the mutual fund alternatives offered by TDF providers, as well

as the broader TDF marketplace.” SAC § 28. Igbal and Twombly

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necessitate that the factual allegations be regarded as true.
Plaintiffs allege losses over $100 million, which is not an
insignificant amount of money. Accordingly, this argument lacks
merit. And, it certainly does not support dismissal of COUNT ONE.

Third, Genworth argues that “Plaintiffs do not allege any
external ‘warning signs’ that a prudent fiduciary would have seen
to indicate the BlackRock TDFs should be removed from the Plan.”
ECF No. 130 at 30-32. That, simply put, is a misstatement because
the SAC specifically states that the “trend[s] of underperformance

should have raised alarm bells for prudent fiduciaries.” SAC
q@ 53. Relatedly, Genworth argues that the Plaintiffs failed to
show any other fiduciary or a market-wide trend of dropping the
BlackRock TDFs, ECF No. 130 at 30-31, but that argument fails for
two reasons: (i) it relies on outside documents that are not
integral to the SAC; and (ii) it is based on a higher pleading
standard than is required at this stage of litigation.

Fourth, Genworth contends that, under ERISA, a prudent
fiduciary is not required to “dump an investment option just
because it was not the best performing fund at the time.” ECF No.
130 at 32. However, that is not what the SAC alleges. The SAC
states that the BlackRock TDFs failed to generate favorable returns
for eight consecutive three-year and five-year periods. SAC q 54.

That is an allegation of sustained underperformance rather than

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one single time frame of poor performance. Thus, this argument
lacks merit.

Accordingly, because the SAC alleges facts that show that the
breach caused the loss because a prudent fiduciary properly
monitoring the performance of the BlackRock TDFs would have
replaced the funds, this ground for dismissing COUNT ONE is
rejected.

Cc. Tullgren and Hall

In the related case Tullgren v. Booz Allen Hamilton (No. 1:22-

cv-856),® the court found that the amended complaint there failed
to state a claim for breach of fiduciary duty because it was
“completely devoid of facts about the particular decision-making
process undertaken by” the defendants. ECF No. 49 at 8 in 1:22-
cv-856.7 Rather, the claim “relie[d] solely on the performance of
the BlackRock TDFs,” and the court declined to infer a fiduciary
breach without additional factual matter. Id, at 9. Here, while
the SAC provides ample detail on the underperformance of the
BlackRock TDFs and how the underperformance would have signaled

the need for a change to a prudent fiduciary, the SAC also bases

6 This Memorandum Opinion discusses Tullgren in this section, but
the court applied the same reasoning to dismiss the amended
complaint in Hall v. Capital One Financial Corp. (1:22-cv-857), so
the case names could be used interchangeably.

7 Genworth makes a similar argument in support of its 12(b) (6)
Motion. ECF No. 130 at 25-26.

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COUNT ONE on Genworth’s failure to monitor and alleges that
Genworth failed to follow its internal documents (mainly the IPS)
when it initially chose to retain the BlackRock TDFs even though
they failed when measured against the criteria listed in the IPS.
See e.g., SAC q{ 37. The SAC in this case is thus not the same as
in Tullgren.

In Tullgren, the court also dismissed the breach of fiduciary
claim for the “additional and independent reason that Plaintiff
has not pled meaningful benchmarks against which this Court can
assess his allegations.” ECF No. 49 at 12 in 1:22-cv-856. Tullgren
reasoned that the amended complaint in that case lacked “factual
allegations demonstrating that the Comparator TDFs_ [were]
meaningful comparators to the BlackRock TDFs,"” including whether
the Comparator TDFs used “through” or “to” glidepaths, whether
they were actively or passively managed, and the allocation of the
funds. Id. at 13.

Genworth makes a similar argument in support of its 12(b) (6)
Motion in this case, arguing that the Comparator TDFs do not have
similar investment strategies, asset allocations, or risk profiles
as the BlackRock TDFs. ECF No. 130 at 25-26. Genworth makes this

argument relying primarily on Matousek v. MidAmerican Energy Co.

where the Eighth Circuit explained that, to be a sound

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or meaningful benchmark, peer-group funds should “hold similar
securities, have similar investment strategies, and reflect a
similar risk profile.” 51 F.4th 274, 281 (8th Cir. 2022).

The SAC explains that the four Comparator TDFs were selected
because “they represent the most likely alternatives to be selected
were the BlackRock TDFs to be replaced” based on Genworth’s own
eriteria described in the IPS. SAC | 40-42. The IPS requires that
“a candidate fund have sufficient assets under management such
that the Plan assets would not represent a disproportionately large
share of the fund’s assets,” which is why the Comparator TDFs only
include the TDF series that were viable alternatives. SAC {| 40;
ECF No. 130-1 at 6 (SEALED). It is true that the SAC does not
provide a detailed explanation on the differences between the
BlackRock TDFs and the Comparator TDFs, including the allocation
of the funds, how each is managed, and the risk in each. However,
the SAC does state that certain “BlackRock TDFs are considerably
more aggressive than the Comparator TDFs.” SAC { 45. Any greater
level of detail is unnecessary at the motion to dismiss stage where

Iqbal and Twombly require only enough factual context so the court

can draw reasonable inferences that there is “more than a sheer

possibility that a defendant has acted unlawfully.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009). Plaintiffs need not provide
“detailed factual allegations” to plausibly assert a claim under

Rule 12(b) (6), and, because Plaintiffs do explain why the

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Comparator TDFs were selected, the SAC here does offer meaningful

comparisons in this case. Bell Atlantic Corp. v. Twombly, 550 U.S.

544, 555 (2007).

Tullgren also criticizes the use of the S&P Index and the
Sharpe ratios as performance metrics because the two are not actual
funds. ECF No. 49 at 13-14 in 1:22-cv-856. Genworth likewise raises
the same issue concerning the S&P Index, arguing that the use of
the S&P Indices does not show significant underperformance but
rather shows that Genworth was adhering to a sound evaluative
process. ECF No. 130 at 29, 33.8

This argument ignores the fact that Genworth’s own IPS
provides the S&P Target Date Index as a benchmark to measure the
performance of the BlackRock TDFs. There is, therefore, nothing
implausible or defective about the SAC when it relies on the same
data for one of its comparisons. SAC { 46; ECF No. 130-1 at 12
(SEALED). Although Genworth does not challenge their use, the SAC
describes the Sharpe ratio as a “commonly prescribed
component of a fiduciary investment monitoring process” that
“accounts for differing levels of risk by measuring the performance
of an investment” to similar investments. SAC § 47. The SAC then
relies on the Sharpe ratio to show underperformance during the

class period. Accordingly, it appears as though the Sharpe ratios

8 Genworth does not challenge the use of the Sharpe ratios in this
latest iteration of briefing.

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were used as a method to standardize the risk levels between the
Comparator TDFs and the BlackRock TDFs for a more meaningful
comparison. This is a dispute that is appropriate to be addressed
later in the proceedings, potentially with the aid of expert
testimony. In any event, the SAC’s allegations respecting the
Sharpe ratios are to be taken as true, and they are plausible.

Recently, Genworth moved to supply supplemental authority
(ECF No. 134) to which Plaintiffs have responded (ECF No. 136).
This was in addition to two previous motions for leave to file
supplemental authority that the Court had already granted. The
simple fact is that the SAC in this case is materially different
than the pleadings as discussed in the newly offered authorities.
And, in all of those cases, leave to file an amended complaint was
granted. See ECF Nos. 125-1, 129-1, 137-1, and 137-2. Thus, the
new decisions do not change the result here: COUNT ONE is well-
pled under Twombly and Igbal.

3. Failure to Monitor the Committee (COUNT TWO)

COUNT TWO asserts a claim for failure to monitor the Committee
and its members. SAC FQ 92-101. Under 29 U.S.C. § 1105(a), “a
fiduciary with respect to a plan shall be liable for a breach of
fiduciary responsibility of another fiduciary with respect to the
same plan” if he enables the other fiduciary to commit a breach.
29 U.S.C. § 1105{(a) (2). Thus, COUNT TWO does, as Genworth contends,

appear to be dependent on a finding that the Committee breached

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its fiduciary duties from COUNT ONE, so the two claims do rise and
fall together in this manner.’

Genworth also claims that Plaintiffs failed to plead specific
facts concerning the monitoring process that would allow the claim
to proceed. ECF No. 130 at 34. Plaintiffs say that the SAC “sets
forth the roles and relationships of the parties acting on behalf
of Genworth, the duties of each party, and underlying breaching
conduct.” ECF No. 132 at 37.

29 C.F.R. § 2509 .75-8, FR-17 provides that:

At reasonable intervals the performance of trustees and

other fiduciaries should be reviewed by the appointing

fiduciary in such manner as may be reasonably expected

to ensure that their performance has been in compliance

with the terms of the plan and statutory standards, and

satisfies the needs of the plan. No single procedure

will be appropriate in all cases; the procedure adopted

May vary in accordance with the nature of the plan and

other facts and circumstances relevant to the choice of

the procedure.

The SAC describes that the Board of Genworth was responsible for
appointing the Committee to serve as fiduciaries of the Plan. SAC
qq 11-13. The SAC then goes on to state that Genworth failed to
monitor the Committee by failing to have an appropriate monitoring
system in place, failing to oversee the processes, and failing to

remove inadequate appointees. SAC § 97. Although more detailed

information is lacking, those allegations are far more than legal

9 Genworth makes this same argument in support of its 12(b) (6)
Motion. ECF No. 130 at 33-34.

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conclusions (as Genworth would have it). They are allegations of

fact. See In re Sears, Roebuck & co. ERISA Litig., No. 02 C 8324,

2004 WL 407007, at *8 (N.D. Ill. March 3, 2004) (finding that
whether the defendants properly monitored the investment committee
was a question of fact and allowed the claim for failure to monitor
to proceed). And, if proved, they would permit a reasonable jury
to find for Plaintiffs on COUNT TWO. In sum, COUNT TWO measures up
to the requirements of Twombly and Iqbal. Therefore, COUNT TWO
will go forward.
CONCLUSION

For the foregoing reasons, DEFENDANT’S PARTIAL MOTION TO
DISMISS UNDER RULE 12(b) (1) (ECF No. 106) will be granted and
DEFENDANT’S MOTION TO DISMISS UNDER RULE 12(b) (6) (ECF No. 104)
will be denied.

It is so ORDERED.

/s/ EL

Robert E. Payne
Senior United States District Judge

Richmond, Virginia .
Date: September /t , 2023

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